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12                          IN THE UNITED STATES DISTRICT COURT
13                              FOR THE DISTRICT OF NEVADA
14     ROBERT BURAN,                                    Case No. 2:20-cv-00608-APG-BNW
15             Plaintiff,
16             v                                        STIPULATION AND [PROPOSED]
17                                                      ORDER TO STAY DISCOVERY
      C R BARD INCORPORATED, et al
                                                        AND ALL PRETRIAL DEADLINES
18             Defendants,                              IN LIGHT OF SETTLEMENT
19
20
21          Plaintiff Robert Buran (“Plaintiff”) and Defendants C. R. Bard Inc. and Bard
22   Peripheral Vascular Inc. (“Defendants”) (collectively “the Parties”) respectfully request this
23   Court to further stay discovery and all pretrial deadlines for 90 days.
24          On September 24, 2020, the Parties filed a stipulation to stay discovery and all
25   pretrial deadlines in light of settlement by 90 days. (Dkt. # 30)
26          On September 25, 2020, the Court issued an order granting the parties stipulation to
27   stay discovery and all pretrial deadlines for 90 days. (Dkt. # 31.)
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 1          The Parties have been working in good faith to complete the settlement and to file
 2   appropriate dispositional documents, however, despite the Parties efforts, they are still in
 3   the process of finalizing the settlement and are unable to conclude this action at this time.
 4   Good cause exists to further stay discovery and all pretrial deadlines for 90 days. Plaintiff’s
 5   counsel in this matter represents hundreds of plaintiffs with cases proceeding in this and
 6   other courts across the country. Plaintiff’s counsel and Defendants have reached a global
 7   settlement in principle regarding the Plaintiff’s counsel’s inventory of filed Bard IVC filter
 8   cases, including this matter. The Parties are currently working to execute term sheets for all
 9   settled cases in the undersigned plaintiff’s counsel’s inventory of IVC filter cases (including
10   this matter), to negotiate any Medicare or private insurance liens, and to finalize the
11   settlement documents. Counsel for Plaintiff has also retained a neutral special master for
12   the allocation process of the aggregate settlement in accordance with the rules of
13   professional responsibility. Given that this settlement is being structured as a global
14   settlement involving hundreds of other cases, the Parties anticipate that they will need an
15   additional three months to complete and finalize the settlement process.
16          Accordingly, the Parties request that the Court to further stay discovery and all
17   pretrial deadlines for 90 days. If Plaintiff has not filed dismissal papers within 90 days, the
18   Parties request the opportunity to file a joint status report regarding the status of the
19   settlement.
20          IT IS SO STIPULATED AND AGREED.
21   DATED: this 24th day of December 2020.
22
23          DALIMONTE RUEB STOLLER, LLP                        GREENBERG TRAURIG, LLP
24   By:    /s/ Gregory D. Rueb                        By:    /s/ Eric W. Swanis
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 1                                    [PROPOSED] ORDER
 2          Upon consideration of the Parties’ Stipulation and [Proposed] Order [To Stay

 3   Discovery And All Pretrial Deadlines In Light of Settlement, and for good cause appearing,

 4   IT IS HEREBY ORDERED that the Parties’ stipulation is APPROVED, and all deadlines

 5   are hereby stayed and extended for 90 days to allow the Parties to finalize settlement and

 6   file dismissal papers.
            IT IS FURTHER ORDERED that if the parties do not file dismissal documents
 7
     within 90 days, they must instead file a status report or seek an extension of the stay.
 8   IT IS SO ORDERED                               IT IS SO ORDERED

 9                                                    DATED: 12:39 pm, December 29, 2020

10    DATED: ____________, 2020
                                        UNITED STATES DISTRICT JUDGE
11
                                                      BRENDA WEKSLER
12                                                    UNITED STATES MAGISTRATE JUDGE
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